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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

ROBERT BURTON,
Petitioner,
Vv.

UNITED STATES OF AMERICA,

Respondent. Cr. No. 13-10292-MLW

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MEMORANDUM AND ORDER

WOLF, D.J. October 16, 2020

I. INTRODUCTION

Defendant Robert Burton pled guilty to securities and tax
fraud on August 21, 2014. On December 22, 2014, he was sentenced
to serve 48 months in custody and 3 years of supervised release.
See Dkt. No. 125 (Judgment).

On April 20, 2015, Burton filed a Motion to Vacate, Set Aside,
or Correct Sentence under 28 U.S.C. §2255 (Dkt. No. 132), which he
subsequently amended. The amended §2255 Petition was filed on May
19, 2015. See Dkt. No. 137 (the "“Petition"). A memorandum in
support was filed on June 15, 2015. See Dkt. No. 139 ("Mem. in
Supp. Petition"). The government opposes the Petition.

As discussed in this Memorandum, many of the "facts" that

Burton alleges are conclusively refuted by the records ef this
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case. The true facts and the knowledge this court obtained
presiding in Burton's case demonstrate that Burton's contention
that his counsel, Oscar Cruz, Esq., was ineffective is without
merit. Burton's other claims are both defaulted and also without
merit. Accordingly, it is not necessary or appropriate to conduct
an evidentiary hearing on Burton's claims. The Petition is being
denied. A Certificate of Appealability is being denied as well.
II. FACTUAL AND PROCEDURAL BACKGROUND

Burton was indicted on October 3, 2013. See Dkt. No. 21. On
February 13, 2014, a Superseding Indictment was returned. See Dkt.
No. 53. On August, 14, 2014 a Second Superseding Indictment was
returned. See Dkt. No. 77. The Second Superseding Indictment
charged Burton with three categories of offenses: (1) securities
fraud associated with funds invested with him (Counts 1-5); (2)
procuring false tax returns (Counts 6-7); and (3) subscribing false
tax returns (Counts 8-11). The tax charges concern the preparation
of false tax returns by Burton for both clients and for himself.

These charges arose out of Burton's conduct in running a
financial services business originally located in Boston and then
in Lawrence, Massachusetts. Although the business had multiple
names, it was generally referred to as "Pinnacle". Through
Pinnacle, Burton provided tax preparation, loan modification, debt
consolidation, investment advising, and bankruptcy petition

preparation services. During some of the period relevant to this
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case, Burton had between eight and ten employees assisting him at
Pinnacle.

Burton's scheme to defraud investors involved interactions
with Ariel Castillo, Larry and Miriam Coleman (together, the
"Colemans"), Sean Hannan, and Edward Vozella. In essence, Burton,
made various misrepresentations to obtain funds from these
individuals. More specifically, Burton told them he would invest
their money. However, no such investments were made. Rather, Burton
used much of the money for personal purposes. The tax charges
relate to Burton's preparation of false returns for the Colemans,
and Ramon and Brenda Tejada, as well as Burton's own tax returns.

On August 19, 2014, Burton and the government entered into a
binding plea agreement pursuant to Federal Rule of Criminal
Procedure 11(c) (1) (C). See Dkt. No. 84 at 2. Burton agreed to plead
guilty to all counts of the indictment and waived his right to
appeal if the agreement were accepted by the court. See id. atl,
6. On August 21, 2014, the court accepted Burton's plea of guilty
and deferred until sentencing deciding whether to accept or reject
the binding plea agreement. See Dkt. No. 87.

Before the sentencing hearing, however, Burton breached the
plea agreement by failing to pay as promised restitution of at
least $50,000, and by violating the curfew which was a condition
of his release and lying to the Probation Officer about that. See

Dkt. No. 120 at 1-3; Dec. 22, 2014 Tr. (Dkt. No. 173) at 4. The
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government informed the defendant that it was exercising its option
to be released of its obligations under the plea agreement. It
recommended that the court conduct the colloquy required by Rule
11(c) (5) when a binding plea agreement is rejected and, among other
things, provide the defendant with the opportunity to withdraw his
plea. See Dkt. No. 120 at 4-7. In his sentencing memorandum, the
defendant acknowledged his breach of the plea agreement and stated
that he did not intended to withdraw his guilty plea. See Dkt. No.
119 at 6.

At the sentencing hearing on December 22, 2014, the court
conducted a Rule 11(c) (5) colloquy with Burton and afforded him
the opportunity to withdraw his guilty plea. Burton again declined
to do so. See Dec. 22, 2014 Tr. (Dkt. No. 173) at 4.

Burton was sentenced to 48 months of imprisonment, 3 years of
supervised release, and restitution in the amount of $159,500 to
named victims, a fine of $7,500, and $1,100 special assessment.
See Dkt. No. 125. Burton appealed, but too late. On September 14,
2015, the First Circuit dismissed Burton's appeal. See Dkt. No.
151.

On April 20, 2015, Burton, appearing pro se, filed his first
Petition. See Dkt. No. 132. On May 19, 2015, Burton filed an
amended petition. See Dkt. No. 137. On June 15, 2015, Burton filed
a memorandum in support of the amended Petition, see Dkt. No. 139,

and a supplemental memorandum shortly thereafter, see Dkt. No.

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141. He subsequently filed multiple affidavits in support of his
request for relief. See Dkt. Nos. 146, 149, 152, 153, 180. Burton
also filed motions for discovery, see Dkt. Nos. 130, 142, 143,
and, as ordered by the court, received some from Mr. Cruz. See
Dkt. No. 180. The record also includes replies filed by Burton in
response to the government’s opposition memoranda. See Dkt. Nos.
197, 210.3

The Petition alleges 16 grounds to vacate the judgment.
Grounds 1-9 allege ineffective assistance of counsel. See Dkt. No.
137 at 4. Ground 10 alleges that the government failed to provide
the defendant with certain material exculpatory evidence. Ground
11 alleges that a victim's statement at the sentencing hearing
constitutes newly discovered evidence that negates the
government's allegations that Burton engaged in securities and tax
fraud. Grounds 12-16 allege errors by this court. More
specifically, Burton alleges that the court failed to inform him
of the maximum fines, restitution, or supervised release, in
violation of Federal Rule of Criminal Procedure 11(b) (1) (H);

failed to inquire and confirm at the sentencing hearing that the

 

1 In addition, Burton filed a Motion for a New Trial (Dkt. No. 156)
and a Motion to Amend the Sentence and Correct the Restitution
Amount (Dkt. No. 162). These motions were denied. See Dkt. No.
169.
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petitioner had discussed the Presentence Report with his counsel
and that it was accurate, in violation of Federal Rule of Criminal
Procedure 32; abused its discretion by sentencing the petitioner _
above the Guidelines range; failed to state reasons for its upward
departure; and failed to provide the petitioner with sufficient
notice that the court would reject the binding plea agreement and
sentence him to an above-guidelines sentence.

On April 20, 2017, the government filed a partial opposition
to the Petition, addressing Grounds 10-16 and some of the
ineffective assistance of counsel claims. See Dkt. No. 185.?
However, it asserted that it was unable to respond to most of
Burton's claims of ineffective assistance without more information
from his attorney, Mr. Cruz. See id. at 2. The court then ordered
the Bureau of Prisons to report whether Burton was "being evaluated
or treated for any condition that may affect his capacity to
knowingly waive his attorney-client privilege." See Dkt. No. 190.

On May 18, 2017, in view of a response by Burton filed on May
1, 2017, and declarations filed by the government from both the
clinical director and chief psychologist of FMC Devens, the court
held that Burton had knowingly and voluntarily waived his attorney-

client privilege with respect to any communications with Mr. Cruz

 

2 The partial opposition was subsequently re-docketed on May 1,
2017. See Dkt. No. 196.
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that are relevant to the Petition and ordered Mr. Cruz to make the
disclosures discussed in a March 24, 2017 Order. See Dkt. No. 203
at 5. In addition, the court ordered that the government respond
to the remaining claims in the Petition; denied Burton's motion
for an expedited evidentiary hearing and his request for an order
requiring the Bureau of Prisons to place him in a Residential Re-
entry Center or in home confinement until the Petition was
resolved; and denied his motion for a "show cause hearing." Id. at
7-8. The court stated that it would decide whether an evidentiary
hearing was necessary after Mr. Cruz submitted the required
affidavit and the government briefed the issues raised in the
Petition. See id. at 6.

On May 4, 2017, Burton filed a brief reply to the government's
initial response to the Petition. See Dkt. No. 197. On June 13,
2017, Burton filed a more substantial reply. See Dkt. No. 210. On
June 23, 2017, the government responded to Burton's nine claims of
ineffective assistance of counsel. See Dkt. No. 212. On July 3,
2017, Burton replied to that response. See Dkt. No. 213. On August
18, 2017, Mr. Cruz submitted an affidavit as ordered by the court.
See Dkt. No. 208 ("Cruz Affidavit 1"). In response to Burton's
Reply, Mr. Cruz submitted a second affidavit, see Dkt. No. 214
("Cruz Affidavit 2"), to which Burton subsequently responded, see
Dkt. No. 216. The government then filed responsive memoranda,

supplemented by sealed exhibits. See Dkt. Nos. 218, 219.

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IIt. REVIEW UNDER 28 U.S.C. §2255
A. Standard Applicable to a Pro Se Petitioner
Where, as here, a petitioner is acting pro se, his petition
must be "'liberally construed . . . [and] a pro se complaint,
however inartfully pleaded, must be held to less stringent
standards than formal pleadings drafted by lawyers.'" Erickson v.
Pardus, 551 U.S. 89, 94 (2007) (quoting Estelle v. Gamble, 429
U.S. 97, 106 (1976)).
B. Standard for an Evidentiary Hearing
When a prisoner files a petition under 28 U.S.C. §2255, the
court may either summarily dismiss the claim or grant an
evidentiary hearing to determine if it is meritorious. 28 U.S.C.

§2255(b) provides:

Unless the motion and the files and records of
the case conclusively show that the prisoner
is entitled to no relief, the court shall
cause notice thereof to be served upon the
United States attorney, grant a prompt hearing
thereon, determine the issues and make
findings of fact and conclusions of law with
respect thereto.

28 U.S.C. §2255(b).

The First Circuit elaborated the test for granting an
evidentiary hearing in a §2255 proceeding in United States v.
McGill, 11 F.3d 223 (lst Cir. 1993). As the First Circuit wrote:

When a petition is brought under section 2255,
the petitioner bears the burden of
establishing the need for an evidentiary

hearing. See Mack v. United States, 635 F.2d

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20, 26-27 (lst Cir. 1980); United States v.
DiCarlo, 575 F.2d 952, 954 (1st Cir. [1978] ),
cert. denied, 439 U.S. 834 (1978). In
determining whether the petitioner has carried
the devoir of persuasion in this respect, the
court must take many of petitioner's factual
averments as true, but the court need not give
weight to conclusory allegations, self-
interested characterizations, discredited
inventions, or opprobrious epithets.

 

We have distilled these principles into a rule
that holds a hearing to be unnecessary "when
a §2255 Petition (1) is inadequate on its
face, or (2) although facially adequate is
conclusively refuted as to the alleged facts
by the files and records of the case." Moran
v. Hogan, 494 F.2d 1220, 1222 (1st Cir. 1974).
In other words, a "§2255 Petition may be
denied without a hearing as to_ those
allegations which, if accepted as_ true,
entitle the movant to no relief, or which need
not be accepted as true because they state
conclusions instead of facts, contradict the
record, or are ‘inherently incredible.'"
Shraiar v. United States, 736 F.2d 817, 818
(lst Cir. 1984) (citations omitted).

Id. at 225-26 (some citations omitted); see also United States v.
Panitz, 907 F.2d 1267 (lst Cir. 1990). “Moreover, when ...a
petition for federal habeas relief is presented to the judge who
presided at the petitioner's trial, the judge is at liberty to
employ the knowledge gleaned during previous proceedings and make
findings based thereon without convening an additional hearing.”
McGill, 11 F.3d at 225.

C. Standard for Procedural Default

The First Circuit has stated that:
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A significant bar on habeas corpus relief is
imposed when a prisoner did not raise claims
at trial or on direct review. In such cases,
a court may hear those claims for the first
time on habeas corpus review only if the
petitioner has "cause" for having procedurally
defaulted his claims, and if the petitioner
suffered "actual prejudice" from the errors of
which he complains.

Owens v. United States, 483 F.3d 48, 56 {lst Cir. 2007) (citations
omitted); see also Oakes v. United States, 400 F.3d 92, 95 (1st
Cir. 2005) ("If a federal habeas petitioner challenges his
conviction or sentence on a ground that he did not advance on
direct appeal, his claim is deemed procedurally defaulted.");

Berthoff v. United States, 308 F.3d 124, 127-28 (lst Cir. 2002);

 

Knight v. United States, 37 F.3d 769, 774 (lst Cir. 1994)
("Normally, failure to raise a constitutional issue on direct
appeal will bar raising the issue on collateral attack unless the
defendant can show cause for the failure and actual prejudice.");
Goldman v. Winn, 565 F.Supp.2d 200, 213-14 (D. Mass. 2008).

To establish cause, a petitioner must show "that some external
impediment, such as government interference or the reasonable
unavailability of the factual or legal basis for the claim,

prevented it from being raised earlier." Andiarena_v. United

 

States, 967 F.2d 715, 718 (1st Cir. 1992). Prejudice occurs when
an error has a “substantial and injurious effect or influence."

Sustache-Rivera v. United States, 221 F.3d 8, 18 (lst Cir. 2000).

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In addition, a showing of actual innocence can remedy a
failure to raise a constitutional issue on direct appeal. See
Bousley v. United States, 523 U.S. 614, 622 (1998).

D. Collateral Attack on Plea Agreement

 

"(AJs a general matter, a voluntary and intelligent plea of
guilty made by an accused person, who has been advised by competent
counsel, may not be collaterally attacked." Wilkins v. United
States, 754 F.3d 24, 28 (lst Cir. 2014). As the Supreme Court wrote
in Bousley, "{h]abeas review is an extraordinary remedy and ‘will
not be allowed to do service for an appeal.'" 523 U.S. at 621
(quoting Reed v. Farley, 512 U.S. 339, 354 (1994). Indeed, "the
concern with finality served by the limitation on collateral attack
has special force with respect to convictions based on guilty

pleas." United States v. Timmreck, 441 U.S. 780, 784 (1979).

 

However, there are exceptions. For example, "a prisoner can
collaterally attack his sentence on the ground that his guilty
plea was not knowing or voluntary if his claim is based on evidence
not available to him at the time of the plea." Wilkins, 754 F.3d
at 28 (quoting Ferrara v. United States, 456 F.3d 278, 289 (1st
Cir. 2006)); see also Castro v. United States, 272 F. Supp. 3d
268, 272 (D. Mass. 2017).

Iv. DISCUSSION

The grounds in the Petition fall into four categories: (1)

ineffective assistance of counsel (Grounds 1-9); (2) failure to

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disclose material exculpatory ("Brady") evidence (Ground 10); (3)
newly discovered evidence (Ground 11); and (4) errors by the
District Court at the plea and sentencing hearings (Grounds 12-
16). See Dkt. Nos. 137, 139.

As indicated earlier, Burton is not entitled to a hearing on
any of these claims, and they are all being denied.

E. Ineffective Assistance of Counsel Claims

 

Burton's ineffective assistance claims concern his decision
to plead guilty (Grounds 1-3) and the preparation for the

presentation of his case for sentencing (Grounds 4-9).

1. Legal Standard

"To succeed on a claim of ineffective assistance of counsel
under the Sixth Amendment, [a movant] must show both deficient
performance by counsel and resulting prejudice." Peralta v. United
States, 597 F.3d 74, 79 (lst Cir. 2010) (citing Strickland v.
Washington, 466 U.S. 668, 687); see also Argencourt v. United
States, 78 F.3d 14, 16 (lst Cir. 1996). "{T]here is no reason for
a court deciding an ineffective assistance claim to approach the
inquiry in the same order or even to address both components of
the inquiry if the defendant makes an insufficient showing on one."
Strickland, 466 U.S. at 697. "Addressing the prejudice prong prior
to evaluating counsel's conduct is a permissible approach and even
endorsed where more efficient." Gonzalez-Soberal v. United States,

244 F.3d at 273, 277-78 (1st Cir. 2001).

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"The burden is on the petitioner to demonstrate ineffective
assistance by a preponderance of the evidence." Lema_v. United
States, 987 F.2d 48, 51 (lst Cir. 1993). "In order to satisfy the
‘deficient performance' prong, [a movant] must show that his trial
counsel's representation 'fell below an objective standard of
reasonableness.'" Peralta, 597 F.3d at 79 (quoting Strickland, 466
U.S. at 688). The court must determine "whether, in light of all
the circumstances, the identified acts or omissions were outside
the wide range of professionally competent assistance."
Strickland, 466 U.S. at 690. "Judicial scrutiny of counsel's
performance must be highly deferential," and "a court must indulge
in a strong presumption that counsel's conduct falls within a wide
range of reasonable professional assistance." Strickland, 466 U.S.
at 690.

As to the second prong, "(uJnder Strickland, a defendant is
prejudiced by his counsel's deficient performance if 'there is a
reasonable probability that, but for counsel's unprofessional
errors, the result of the proceeding would have been different.'"

Porter v. McCollum, 558 U.S. 30, 40 (2009) (quoting Strickland,

 

446 U.S. at 694). "A reasonable probability is a probability
sufficient to undermine confidence in the outcome." Strickland,
466 U.S. at 694; see also Peralta, 597 F.3d at 79-80. The First
Circuit has stated that "the 'prejudice' element of an ineffective

assistance claim also presents a high hurdle. 'An error by counsel,

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even if professionally unreasonable, does not warrant setting
aside the judgment of a criminal proceeding if the error had no

effect on the judgment.'" Argencourt, 78 F.3d at 16.

2. Analysis

1. Ground One

Ground 1 alleges that Burton's counsel was ineffective
because he misinformed Burton that he could not withdraw his guilty
plea "when, in fact, he could have for good reason." See Dkt. No.
139 at 7, 9-10; Dkt. No. 180 at 5. This ground to vacate is being
dismissed because it is conclusively refuted by the record.

The record demonstrates that Burton's counsel did in fact
advise him of his ability to withdraw his guilty plea before the
sentencing hearing on December 22, 2014 because the government was
abrogating the plea agreement. Burton asserts that from October 1,
2014 until December 16, 2014, Mr. Cruz erroneously advised him
that he was unable to withdraw his guilty plea. However, even
assuming, without finding, that assertion is true, Burton also
states in his Memorandum in Support of the Petition that on
December 17, 2014 -- five days before the sentencing hearing - Mr.
Cruz informed him, correctly, that Burton retained the right to
withdraw his plea and proceed to trial. See Dkt. No. 139 at 9-10.

Burton had authorized Mr. Cruz to communicate information for him

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to his fiancé Tiesha Gonzales.3 The record includes an email from
Mr. Cruz to Gonzales explaining the option of withdrawing the plea,
and a response from Gonzales relaying Burton's intent not to
withdraw it. See Dkt. No. 208-1. Mr. Cruz also states that he
informed Burton of this right at that time. See Dkt. No. 208 (Cruz
Aff. 1) at 2. Therefore, whatever Mr. Cruz said prior to December
16, 2014, he properly informed Burton of his right to withdraw his
plea before the December 22, 2014. Burton had five days to consider
Mr. Cruz's accurate advice concerning the option of withdrawing
his plea. Even assuming, without finding, that Mr. Cruz told Burton
before December 17, 2014 that he could not withdraw his guilty

plea, Burton was not prejudiced by that advice.‘

 

3 Various pieces of evidence indicate that Gonzales was serving as
Burton's intermediary for information to and from him at the
relevant times. See Dkt. No. 139-1; Dkt. No. 146; Dkt. No. 149.

4 If the government had not abrogated the plea agreement, it would
have been very difficult for Burton to withdraw his guilty plea.
See Fed. R. Civ. P. 11(d) (2) (B); United States v. Gates, 709 F.3d
58, 69 (lst Cir. 2013) (a court considering a motion to withdraw
a guilty plea must consider "whether the plea, when entered, was
voluntary, intelligent, and informed .. . [and] factors such as
the strength of the reasons proffered by the defendant as a basis
for withdrawing his plea, the timing of the motion, and the force
of any assertion of legal innocence"). Any assertion that Burton
was innocent would have been found to be false, rendering it very
unlikely that he would have been allowed to withdraw his plea.
Therefore, if Mr. Cruz initially told Burton this, he would have
been right rather than ineffective and Burton would not have been
prejudiced by Mr. Cruz's advice.

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Moreover, during the Rule 11(c) (5) colloquy at the beginning
of the December 22, 2014 hearing, the court informed Burton that
because the court was rejecting the binding plea agreement, Burton
had a right to withdraw his guilty plea. See Dec. 22, 2014 Tr.
(Dkt. No. 173) at 7. Burton said he understood that he had that
right and did not want to withdraw his plea. Id. He also stated
that he had discussed this issue with Mr. Cruz and was fully
satisfied with Mr. Cruz's work. Id. at 7-8.

In United States v. Butt, the First Circuit held that a

 

presumption of truthfulness applies to statements made in the
context of a guilty plea. See 731 F.2d 75, 80 (1st Cir. 1984). The
presumption "will not be overcome unless the allegations in the
§2255 Petition are sufficient to state a claim of ineffective
assistance of counsel and include credible, valid reasons why a
departure from those earlier contradictory statements is now
justified." Id.; see also United States v. Padilla-Galarza, 351
F.3d 594, 598 (1st Cir. 2003) ("Ordinarily, a defendant is stuck
with the representations that he himself makes in open court at
the time of the plea. They are more likely to be reliable than
later versions prompted by second thoughts ... ."). Here, the
court's questioning of Burton at the beginning of the sentencing
hearing regarding whether he wanted to withdraw his plea, and his

responses, are subject to this presumption because they were, in

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effect, part of Federal Rule of Criminal Procedure 11 plea
colloquy. See Dec. 22, 2014 Tr. (Dkt. No. 173) at 4-9.

In essence, Burton's claim that Mr. Cruz did not tell him
before the December 22, 2014 hearing that he could withdraw his
plea is conclusively refuted by the record. Therefore, an
evidentiary hearing is not justified on this issue. See McGill, 11
F.3d at 225. The court finds that Mr. Cruz's performance was not
deficient and, in any event, Burton was not prejudiced by any
purported deficiency. Therefore, Ground 1 is unmeritorious.

2. Grounds Two, Four, and Five

Grounds 2, 4, and 5 relate to Mr. Cruz's alleged failure to
obtain particular purported records of Burton's company Pinnacle
and of Burton's victims. More specifically, Ground 2 states that
"Petitioner's plea was involuntary because his court-appointed
attorney advised him to plead guilty without making any
investigation or inspection of critical bank statements and or the
actual Pinnacle Strategic Debt Portfolio and Ram 2020 Fund." Dkt.
No. 137 at 4 of 16. Liberally construed, Burton's Memorandum in
Support of his Petition seems to argue that such records would
have shown that funds Burton had obtained to invest for clients,
but used for his own personal expenses, were repaid in part to the
victims. See Dkt. No. 139 at 10-15. Ground 5 also claims that the

failure to obtain and investigate "the Pinnacle Strategic Debt

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Portfolio and Ram 2020 Fund was ineffective assistance of counsel."
Dkt. No. 137 at 4 of 16.

Although the purported Pinnacle Strategic Debt Portfolio and
Ram 2020 Fund records would have been records of Burton's company,
he has not submitted them to the court. Nor has Burton proved that
they exist.

The bank records produced by the government during discovery
do not mention a Pinnacle Debt Portfolio or Ram 2020 Fund. See
Dkt. No. 212-1 at 914. In his affidavit, Mr. Cruz stated that "[a]s
to the 'Pinnacle Strategic Debt Portfolio’ and the ‘Ram 2020 Fund’,
counsel to this day questions their very existence." See Cruz Aff.
1 (Dkt. No. 208) 911. While the record reveals the existence of
some funds with similar names -- funds which Burton told Mr. Cruz
he could use to repay certain clients - Mr. Cruz has stated that
no liquidation of those funds ever occurred at any point during
this case. See id. At the sentencing hearing, the court questioned
the existence of the Pinnacle Strategic Debt Portfolio. See Dec.
22, 2014 Tr. (Dkt. No. 173) at 33-34 (Court: "So what evidence do
I have that this debt portfolio exists?"; Mr. Cruz: "Your Honor,
the only evidence that the Court has at this point is the
representation I'm making.").

In addition, Burton has not proved that if the records exist,
they would show he repaid any of the money he misappropriated to

the victims. Two of them have provided affidavits denying they

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were repaid. See Dkt. No. 212-1, Exs. 1, 3. There was substantial
evidence to prove Burton's fraud on them. The court finds that
Burton has made many false statements in this §2255 proceeding.
Therefore, his contention that the purported "Pinnacle Strategic
Debt Portfolio and Ram 2020 Fund" documents would show he repaid
his victims is not credible.

In any event, it is axiomatic that "repayment is not a defense

to fraud." United States v. Byrd, 690 F.App'x 892, 894 (6th Cir.

 

2017) (citation omitted). As the Fourth Circuit wrote with regard
to wire fraud, "(t]he intent to repay eventually is irrelevant to
the question of guilt for fraud." United States v. Allen, 491 F.3d

178, 186 (4th Cir. 2007) (citing United States v. Kenrick, 221

 

F.3d 19, 29 (1st Cir. 2000)). Therefore, Burton was not prejudiced
by any failure to obtain purported records that allegedly would
have shown he repaid his victims.

In addition, Mr. Cruz's decision not to seek the purported
records was reasonable. In his affidavit, Mr. Cruz states that he
already had access to Burton's bank records and those of Pinnacle.
See Cruz Aff. 1 (Dkt. No. 208) (19. He reviewed those records and
concluded that no repayments to victims were made. See id. Rather,
his analysis of Burton's bank records “indicated that the monies
Burton took from [certain victims] was not 'invested' as promised,
but was deposited into Citibank accounts controlled by Mr. Burton

and utilized by him to pay for personal and business expenses."

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Id. In addition, as explained earlier, two of the four victims
Burton claims he repaid submitted affidavits, signed before
Burton's arrest, stating that they never received repayment from
Burton. See Dkt. No. 212-1, Exs. 1, 3.

As Mr. Cruz was reasonable in deciding not to seek the
purported Pinnacle Strategic Debt Portfolio and Ram 2020 Fund
records, and Burton was not prejudiced by his decision not to do
so, Grounds 2 and 5 are unmeritorious.

Ground 4 alleges that Mr. Cruz was ineffective because he did
not obtain the bank records of the victims, which Burton contends
would have been exculpatory because they would have shown he repaid
them. However, the government has stated that it produced some
such records -- the bank records of the Colemans -- in discovery
in 2013 and 2014. See Dkt. No. 212-1. Mr. Cruz informed the
government that he gave Burton copies of those records in 2015 and
2017 in connection with these proceedings. See Dkt. No. 219 at 2,
n.1. The government has filed these records in these proceedings.
See Dkt. No. 219, Exs. A, B. They do not appear to show any deposits
from Burton or any of his businesses into the Colemans' accounts.
Burton has not provided any additional records or attempted to
show that the Colemans' records include any evidence he repaid his
victims.

In any event, again, there is strong evidence that the victims

were not repaid and, moreover, any repayment would not have negated

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Burton's guilt. See Byrd, 690 F.App'x at 694; Allen, 491 F.3d at
186. Therefore, it was reasonable for Mr. Cruz not to obtain the
victims' records, or more of the victims' records, and Burton was
not prejudiced by their absence. Accordingly, Ground 4 also is
unmeritorious.

3. Ground Three

Burton's third claim is that his "guilty plea was involuntary
by reason of ineffective assistance of counsel because his counsel
breache[d] his duty to consult with petitioner on important
decisions, specifically, the preparation of defendant['s]
sentencing memorandum." Dkt. No. 139 at 7. Mr. Cruz, however,
states that he discussed Burton's proposals for the sentencing
memorandum with him in person on December 4, 2014. See Cruz Aff.
1 (Dkt. No. 208) 723.

This ground is only briefly mentioned in the Petition and not
developed in his Memorandum in Support of the Petition. See Dkt.
No. 137 at 4 of 16; Dkt. No. 139. The ground is also not discussed
in any of Burton's supplemental filings or replies. As indicated
earlier, in deciding whether the court must grant an evidentiary
hearing in a §2255 proceeding, the court "need not give weight to
conclusory allegations." See McGill, 11 F.3d at 225-26; see also

United States v. Zannino, 895 F.2d 1, 17 (lst Cir. 1990) ("[I]ssues

 

adverted to in a perfunctory manner, unaccompanied by some effort

at developed argumentation, are deemed waived."). Here, because

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Mr. Cruz credibly states under oath that he discussed the
sentencing memorandum with Burton and Burton provides no evidence
to contradict this, the court deems this ground to be merely
conclusory and, in any event, without any basis in fact.
Accordingly, it is unmeritorious.

4. Ground Six

Burton's sixth ground to vacate is that his counsel "fail[ed]
to read and discuss the presentence report" with him. See Dkt. No.
137 at 4 of 16; Dkt. No. 139 at 15-16. This ground, too, is
conclusively refuted by the record.

In his affidavit, Mr. Cruz states that he had reviewed the
Presentence Report with Burton and discussed potential objections
with him. See Cruz Aff. 1 (Dkt. No. 208) 4913. The record
demonstrates this is true. It includes an October 9, 2014 email
from Mr. Cruz to Burton containing the Presentence Report, and an
email response by Burton to Mr. Cruz, in which they discuss various
potential objections to it. See Dkt. No. 208-1 at 34, 36. Burton's
response to Mr. Cruz is dated December 8, 2014, and contains
various specific objections to the Presentence Report,
demonstrating that he received the document sent to him by Mr.
Cruz. At the December 22, 2014 hearing, Burton testified that he
had reviewed the Presentence Report and found it to be accurate.

See Dec. 22, 2014 Tr. (Dkt. No. 172) at 8. Therefore, the alleged

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facts concerning Ground Six are conclusively refuted by the record.
Accordingly, it is unmeritorious.

5. Ground Seven

Burton's seventh claim is that his counsel "fail[ed] to object
to substantive and factual allegations in the presentence report."
In his Memorandum in Support of the Petition, Burton briefly states
that "he had no fewer than thirty (30) objections" including
"objections such as the offense level, the loss amount, the
investment advisor enhancement, his criminal history category and
his alcohol abuse." See Dkt. No. 139 at 16.

This claim is also unmeritorious. Burton did send an email to
Mr. Cruz on December 8, 2014, with seven, not thirty, proposed
objections to the Presentence Report. See Dkt. No. 208-1 at 36-
37. However, at the sentencing hearing on December 22, 2014, after
Burton was sworn he stated that he was fully satisfied with Mr.
Cruz's work as his lawyer. See Dec. 22, 2014 Tr. (Dkt. No. 173) at
6-8. The court then asked Burton if there was anything in the
Presentence Report he thought was inaccurate, and = Burton
responded, "No, your Honor." Id. at 9. There was no impediment to
Burton stating that he had objections to the Presentence Report on
December 22, 2014.

As indicated earlier, there is a presumption of truthfulness
to statements previously made under oath. See Butt, 731 F.2d at

80. A petitioner must provide a valid, credible reason why they

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should be found to be untrue in a §2255 Petition. See Padilla-
Galenza, 357 F.3d at 598. Burton has not done so here. Therefore,
the court finds that by the time of the sentencing hearing on
December 22, 2014, Burton understood that the objections he had
proposed to Mr. Cruz were not meritorious.

The court credits Mr. Cruz's explanation for this evolution
in Burton's position. See Cruz Aff. (Dkt. No. 208) at 6-9. More
specifically, Mr. Cruz discussed Burton's proposed objections with
Burton several times before the sentencing hearing on December 22,
2014, and explained why they were unfounded. Id. By the time of
the sentencing hearing on December 22, 2014, Burton understood
and, the court finds, agreed that the objections he originally
proposed would have been futile and should not be made.

Mr. Cruz's decision not to raise the objections originally
suggested by Burton was not objectively unreasonable, and Burton
was not prejudiced by it. There was ample evidence that Burton had
acted as an investment adviser and to support the amount of the
loss attributed to him in the Presentence Report. Indeed, as Mr.
Cruz explained, Burton had agreed, under oath, to both in pleading
guilty. See Cruz Aff. 1 (Dkt. No. 208) at 7916-18.

Similarly, Burton was under a criminal justice sentence while
he engaged in the criminal conduct in this case. Any argument to
the contrary would have been unavailing. Instead, Mr. Cruz

reasonably chose to argue instead that Burton's Criminal History

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category of II overstated the nature of his criminal history. See
Dec. 22, 2014 Tr. (Dkt. No. 173) at 29.

In addition, it was reasonable for Mr. Cruz not to raise
objections to the references in the Presentence Report to domestic
abuse. This information did not affect Burton's Criminal History
score. An objection would have spotlighted the allegations of abuse
and been potentially harmful to Burton's effort to seek a lower
sentence. Mr. Cruz discussed this with Burton and he agreed the
issue should not be raised. See Cruz Aff. 1 (Dkt. No. 208) Q419-
20.

In view of the foregoing, again, Mr. Cruz's decisions were
reasonable and Burton was not prejudiced by them. Therefore, Ground
7 is unmeritorious.

6. Ground Bight

Burton's eighth claim is that Mr. Cruz was ineffective because
he did not withdraw as counsel after receiving negative information
about Burton from his third-party custodian Bryan Ganz. However,
Mr. Cruz's affidavit, supported by documentary evidence, credibly
refutes this contention.

After Burton was detained a second time, Ganz told Mr. Cruz
that he would not continue to serve as custodian if Burton was
again released and would not lend him money to pay partial
restitution because Burton had made unauthorized personal charges

on the credit card of a business Ganz and Burton owned, and Burton

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had started a competing business. See Cruz Aff. 1 (Dkt. No. 208)
{9%26-33. Ganz had not given this information to Probation. Id. Mr.
Cruz advised Burton not to raise this dispute at sentencing because
it too would have been detrimental to Burton's effort to get a
lower sentence. Id. Mr. Cruz did, however, inform Burton that if
the issue were raised, Mr. Cruz would be a potential witness
concerning Ganz's claims, which might have required his withdrawal
as Burton's counsel. Id. Mr. Cruz discussed with the prosecutor
Ganz's allegation that Burton had misused a credit card. Id. She
agreed not to raise the issue at sentencing, id., and did not. Mr.
Cruz explained to Burton that the prosecutor would not raise issues
relating to Ganz. Id. Burton indicated that he wanted Mr. Cruz to
continue to represent him at sentencing. Id.

It was not only reasonable, it was wise for Mr. Cruz not to
introduce Burton's dispute with Ganz at sentencing. Doing so could
have caused the court to conclude that Burton was committing crimes
while awaiting sentencing and to give him a higher sentence.

In these circumstances, Mr. Cruz did not have an actual
conflict of interest that adversely affected his performance as is
required to obtain §2255 relief based on an alleged violation of
the Sixth Amendment. See Cuyler v. Sullivan, 446 U.S. 335, 348-49
(1980). As the First Circuit has explained:

[T)o show an actual conflict of interest, a

defendant must demonstrate "that (1) the
lawyer could have pursued a plausible

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alternative defense strategy or tactic and (2)

the alternative strategy or tactic was

inherently in conflict with or not undertaken

due to the attorney's other interests or

loyalties.
United States v. Ponzo, 853 F.3d 558, 575 (lst Cir. 2017) (internal
quotation omitted). In contrast to Cuyler, this is not a case in
which one attorney represented multiple defendants with
conflicting interests. Mr. Cruz had no reason to be loyal to Ganz
and, therefore, no conflict of interest. While Mr. Cruz could have
argued that Burton failed to make partial restitution before
sentencing because Ganz was no longer willing to lend him money,
as explained earlier, this argument would have done Burton more
harm than good. As the First Circuit wrote in Ponzo, “foregoing an
implausible strategy or a strategy that could inculpate the
defendant does not constitute an actual conflict of interest." Id.
at 576.

In essence, Mr. Cruz did not have a conflict of interest
relating to Ganz or the information he received from Ganz. He
zealously and successfully worked to protect Burton from the
potential adverse impact his dispute with Ganz could have had on
Burton's sentence. Burton knew and agreed with this reasonable

strategy in 2014. He was not prejudiced by it. Therefore, Burton

is not entitled to relief on Ground 8.

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7. Ground Nine

Burton's ninth and last ineffective assistance of counsel
claim is Mr. Cruz's alleged failure to review any discovery and
interview any potential witnesses. In particular, Burton maintains
he provided Mr. Cruz with a list of former clients of Pinnacle who
Mr. Cruz did not pursue. See Dkt. No. 139 at 20.

In his memorandum in support of the Petition and subsequent
submissions, Burton fails to provide any explanation or
evidentiary support for this argument. He asserts that “it is
unfathomable that a lawyer would or could advise, recommend and
negotiate a plea agreement without ever interviewing and
investigating potential trial witnesses favorable to his client."
Id. at 20.

Here, not only is Burton's conclusory claim unsupported, but
much evidence in the record demonstrates that Mr. Cruz did, in
fact, investigate the potential witnesses. In his affidavit, Mr.
Cruz discusses "(t]he discovery received and reviewed by counsel
regarding Mr. Burton's and Pinnacle's bank records." See Cruz Aff.
1 (Dkt. No. 208) 99. Mr. Cruz also states that he spoke with
various potential witnesses. See id. 9141. In addition, the record
also contains emails between Mr. Cruz and Gonzales, in which Mr.
Cruz states that he had spoken to, or would call, many of the
witnesses Burton claims were not contacted. See Dkt. No. 208-1 at

73-75.

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As Burton's conclusory contentions concerning Ground 9 are
refuted by Mr. Cruz's affidavit, which is supported by many
documents, the court finds that they are not proven. See United

States v. LaBonte, 70 F.3d 1396, 1412 (lst Cir. 1995), rev'd on

 

other grounds, 520 U.S. 751 (1997); McGill, 11 F.3d at 225-26.
Therefore, Ground 9 is unmeritorious.

F. Burton's Other Grounds For Relief

 

In Grounds 10 to 16, Burton seeks relief for reasons other
than ineffective assistance of counsel. Each of these grounds have
been procedurally defaulted and no exceptions to the procedural
default rule apples. They are also each unsupported factually and
unmeritorious. Therefore, they are being dismissed.

In Grounds 10 to 16, Burton alleges that: the government
failed to disclose material exculpatory evidence (10); there is
newly discovered evidence (11); and there were errors by the court
concerning his plea and sentencing (12-16). With regard to the
merits, Burton's claims are either contradicted by the record or
inherently incredible. See McGill, 11 F.3d at 225-26. For example,
contrary to Burton's contention, on August 21, 2014 the court
informed Burton of the maximum possible penalties if he pled

guilty. See Aug. 21, 2014 Tr. (Dkt. No. 172) at 8-9. Similarly, at

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the sentencing hearing Burton confirmed that he had read the
Presentence Report.> See Dec. 22, 2014 Tr. at 9,

In any event, claims 10 to 16 are procedurally defaulted. All
of them could have been pursued on appeal but were not.® See
Bousley, 523 U.S. at 621; Wilkins, 754 F.3d at 28. With regard to
his plea, Burton cites no new evidence that would have been
unavailable on appeal. With regard to his sentencing, Burton was
informed that he could appeal the court's upward departure. See
Dec. 22, 2014 Tr. (Dkt. No. 173) at 40.

Burton has not shown cause for his default because he has not
proven any of his ineffective assistance of counsel claims. See

Prou v. United States, 199 F.3d 37, 47 (1st Cir. 1999); Martinez

 

v. Ryan, 566 U.S. 1, 9 (2012); United States v. Sampson, 820
F.Supp.2d 202, 221 (D. Mass. 2011). Nor has he shown any other

reason his claims could not have been properly raised on appeal.

 

5 The court did not ask Burton if he had discussed the Presentence
Report with Mr. Cruz. Mr. Cruz credibly explains in his affidavit
his extensive discussions with Burton concerning the Presentence
Report. See Dkt. No. 2018 at 7-9. There is no reasonable
probability that Burton's sentence would have been different if
the court had asked if he had discussed the Presentence Report
with Mr. Cruz. See, e.g., Bartolomeo v. United States, 960 F.3d
34, 43 (1st Cir. 2020).

6 While Burton did file an appeal, it was untimely. See Dkt. No.
131. He later moved to dismiss it. See United States v. Burton,
15-1578, Doc. No. 00116862947 (July 15, 2015). The First Circuit
then dismissed the appeal. See Dkt. No. 151.

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See Andiarena, 967 F.2d 715, 718 (lst Cir. 1992). Moreover, the
court does not find that Burton was actually innocent of the crimes
to which he pled guilty. This is not a case in which "it is more
likely than not that no reasonable juror would have found
petitioner guilty beyond a reasonable doubt." House v. Bell, 547
U.S. 518, 554 (2006). Burton's guilty plea contributes to the

conclusion that he is not actually innocent. See United States v.

 

Dunfee, 821 F.3d 120, 127-31 (1st Cir. 2016). In this case, Burton
pled guilty for good reason -- the evidence against him was very
strong.

Therefore, Grounds 10 to 16 are being dismissed as
procedurally defaulted and, in any event, are without merit.

V. DISCOVERY MOTIONS

On May 7, 2015, Burton filed a motion seeking discovery from
the Federal Public Defender and government of "[a]J1l evidence,
attorney-client work product, and all discovery and provide to
appellant relating to criminal docket number (15-11826]." Dkt. No.
130. On July 10, 2015, he filed motions to compel discovery from
the Federal Public Defender and from the government. Dkt. Nos.
142, 143. From the Federal Public Defender, among other things,
Burton sought various documents relating to Mr. Cruz's
representation of him. From the government, among other things, he

sought bank account information regarding the victims.

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Finally, on August 30, 2017, Burton filed a discovery motion
claiming that neither the government nor Mr. Cruz provided Burton
with the bank statements of the Colemans that he requested, and
seeking "any further discovery it has omitted, withheld, hidden,
either intentionally or unintentionally." Dkt. No. 215.

All of these requests are being denied. A petitioner seeking
relief under 28 U.S.C. §2255 must establish "good cause" for

discovery. See, e.g., U.S. v. Moran, 19 F.3d 1427 (1st Cir. 2014);

 

Dziurgot v. U.S., 923 F.2d 839 (lst Cir. 1990). For most of his
discovery requests, Burton has failed to state any reason, let
alone the requisite "good cause," for discovery. See generally
Dkt. Nos. 130, 142, 143.

In his August 30, 2017 Motion, Burton asserts (in Dkt. No.
215) that discovery of the Coleman bank records is warranted
because they were not included in the documents Mr. Cruz provided
to Burton pursuant to the May 18, 2017 Order (Dkt. No. 203)
directing Mr. Cruz to "disclose to Burton and counsel for the
United States all correspondence, notes, memoranda, and other
communications, documents, and information reasonably necessary to
respond" to the Petition. The government obtained some of the
Coleman bank records and provided them to Mr. Cruz during discovery
in 2013 and 2014. See Dkt. No. 212-1. The government has stated
that Mr. Cruz informed the government that he had provided Burton

with copies of those records in December 2015 and August 2017. See

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Dkt. No. 219 at 2, n.1. Burton's contention that he did not receive
the Coleman bank records in these proceedings is, therefore,
refuted by the record. In any event, as explained earlier, Mr.
Cruz was not ineffective in part in not seeking additional bank
statements from victims because the evidence of purported
repayment Burton sought would not be exculpatory. See Byrd, 690
F.App'x at 694. Therefore, any further discovery of the Coleman
bank records would be futile.

As Burton has failed to establish good cause for discovery,
the discovery motions are being denied.

VI. EVIDENTIARY HEARING

Burton requested an evidentiary hearing on the claims for
relief raised in the Petition. See Dkt. No. 139 at 27.

As explained earlier, "a '§2255 motion may be denied without
a hearing as to those allegations which, if accepted as true,
entitle the movant to no relief, or which need not be accepted as
true because they state conclusions instead of facts, contradict
the record, or are ‘inherently incredible.'" McGill, 11 F.3d at
226 (quoting Shraiar v. United States, 736 F.2d 817, 818 (list
Cir.1984)). Burton's claims are all either facially inadequate,
procedurally defaulted, or contradicted conclusively by the
record. An evidentiary hearing is not in this case necessary or

appropriate.

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Therefore, the court is denying all of the grounds for relief

of the Petition without an evidentiary hearing.
VII. CERTIFICATE OF APPEALABILITY

The court is required to "issue or deny a certificate of
appealability when it enters a final order adverse to the
applicant." See Rules Governing §2255 Proceedings, Rule 11(a). A
certificate of appealability ("COA") is warranted if "'reasonable
jurists would find the district court's assessment of the

constitutional claims debatable or wrong.'" Miller-El v. Cockrell,

 

537 U.S. 322, 338 (2003) (quoting Slack v. McDaniel, 529 U.S. 473,
484 (2000)). A claim can be debatable "even though every jurist of
reason might agree, after the COA has been granted and the case
has received full consideration, that petitioner will not
prevail." Id. However, the "issuance of a COA must not be pro forma
or a matter of course," because "Congress [has] confirmed the
necessity and the requirement of differential treatment for those
appeals deserving of attention from those that plainly do not.”
Id. at 337.

The claims asserted in the §2255 Petition are all either
facially inadequate, procedurally inadequate, or contradicted
conclusively by the record. Accordingly, the court does not find
that reasonable jurists could find its assessment of Burton's
claims debatable or wrong. See id. at 338. A COA is, therefore,

being denied as to all claims. However, Burton may seek a COA from

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the First Circuit Court of Appeals. See Rules Governing §2255
Proceedings, Rule 11(a).
VIII. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. The defendant's Motion to Vacate Under 28 U.S.C. §2255
(Dkt. No. 132) and Amended Motion to Vacate under 28 U.S.C. §2255
(Dkt. No. 137) are DENIED.

2. The government's motion for leave to file responsive
briefing and sealed exhibits (Dkt. No. 218) is ALLOWED.

3. The defendant's motions related to discovery (Dkt. Nos.
130, 142, 143, 215) are DENIED.

4, The government's motion for leave to file excess pages
(Dkt. No. 211) is ALLOWED.

5. The defendant's motion for release or bail pending
resolution of the §2255 petition (Dkt. No. 199) is MOOT.

6. Oscar Cruz's motion for extension of time to file an
affidavit (Dkt. No. 207) is ALLOWED.

7. The government's motion for extension of time to file a

response to the motion to vacate (Dkt. No. 127) is ALLOWED.

 

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